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                   EXHIBIT A
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 1 IRELL & MANELLA LLP                                               ELECTRONICALLY
   Morgan Chu (SBN 70446)                                               FILED
 2 Alan Heinrich (SBN 212782)                                       Superior Court of California,
                                                                     County of San Francisco
   Iian Jablon (SBN 205458)
 3 Abigail Sellers (SBN 342380)                                         02/29/2024
                                                                     Clerk of the Court
 4 Justin Koo (SBN 351547)                                             BY: KEVIN DOUGHERTY
   Henry White (SBN 351549)                                                       Deputy Clerk

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11 Attorneys for Plaintiff Elon Musk

12
                                SUPERIOR COURT OF CALIFORNIA
13                                                           CGC-24-612746
                        IN AND FOR THE COUNTY OF SAN FRANCISCO
14

15 ELON MUSK, an individual,                      Case No.:

16                Plaintiff,

           vs.                                    [UNLIMITED JURISDICTION]
17

18 SAMUEL ALTMAN, an individual, GREGORY COMPLAINT FOR (1) BREACH OF
   BROCKMAN, an individual, OPENAI, INC., a CONTRACT, (2) PROMISSORY
19 corporation, OPENAI, L.P., a limited             ESTOPPEL, (3) BREACH OF FIDUCIARY
   partnership, OPENAI, L.L.C., a limited liability DUTY, (4) UNFAIR COMPETITION
20 company, OPENAI GP, L.L.C., a limited            UNDER CAL. BUS. & PROF. CODE
   liability company, OPENAI OPCO, LLC, a           §§ 17200 ET SEQ., AND (5) ACCOUNTING
21 limited liability company, OPENAI GLOBAL,

22 LLC, a limited liability company, OAI
   CORPORATION, LLC, a limited liability            DEMAND FOR JURY TRIAL
23 company,    OPENAI   HOLDINGS,    LLC, a limited
   liability company, and DOES 1 through 100,
24 inclusive,

25                Defendants.
26

27

28


                                          COMPLAINT
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 1           Plaintiff, ELON MUSK (hereafter “Plaintiff”) alleges the following upon information and

 2 belief:

 3                                                 PARTIES

 4           1.     Prior to 2019, Plaintiff was an individual residing in California. Plaintiff is a resident

 5 of Texas since 2019.

 6           2.     On information and belief, Plaintiff alleges that Samuel Altman is a resident of the

 7 County of San Francisco, State of California.

 8           3.     On information and belief, Plaintiff alleges that Gregory Brockman is a resident of

 9 the County of San Francisco, State of California.

10           4.     OpenAI, Inc. is a registered non-profit organization incorporated under the laws of

11 Delaware on December 8, 2015. OpenAI, Inc. is registered as a foreign corporation with the

12 California Secretary of State and has its principal place of business at 3180 18th Street, San

13 Francisco, CA 94110.

14           5.     OpenAI, L.P. is a limited partnership formed under the laws of Delaware on

15 September 19, 2018, originally as SummerSafe, L.P. OpenAI, L.P. is registered as a foreign limited

16 partnership with the California Secretary of State and has its principal place of business at 3180 18th

17 Street, San Francisco, CA 94110.

18           6.     OpenAI, L.L.C. is a limited liability company formed in Delaware on September 17,

19 2020. OpenAI, L.L.C. maintains its principal place of business in California.

20           7.     OpenAI GP, L.L.C. is a limited liability company formed in Delaware on September

21 19, 2018. OpenAI GP, L.L.C is registered as a foreign limited liability company registered with the

22 California Secretary of State and has its principal place of business at 3180 18th Street, San

23 Francisco, CA 94110.

24           8.     OpenAI OpCo, LLC is a limited liability company formed in Delaware on September

25 19, 2018. OpenAI OpCo, LLC is registered as an out-of-state limited liability company with the

26 California Secretary of State and has it principal place of business at 1960 Bryant Street, San

27 Francisco, CA 94110.

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 1          9.     OpenAI Global, LLC is a limited liability company formed in Delaware on

 2 December 28, 2022. OpenAI Global, LLC is registered as an out-of-state limited liability company

 3 with the California Secretary of State and has it principal place of business at 1960 Bryant Street,

 4 San Francisco, CA 94110.

 5          10.    OAI Corporation, LLC is a limited liability company formed in Delaware. OAI

 6 Corporation, LLC maintains its principal place of business in California.

 7          11.    OpenAI Holdings, LLC is a limited liability company formed in Delaware on March

 8 17, 2023. OpenAI Holdings, LLC is registered as an out-of-state limited liability company with the

 9 California Secretary of State and has it principal place of business at 1960 Bryant Street, San

10 Francisco, CA 94110.

11          12.    Hereinafter, “OpenAI, Inc.” is used solely to refer to the non-profit entity or non-

12 profit arm, while “OpenAI” is used generally to refer to OpenAI, Inc., OpenAI, L.P., OpenAI,

13 L.L.C., OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC,

14 and/or OpenAI Holdings, LLC.

15          13.    Plaintiff is currently unaware as to the names and identities of Doe 1 through Doe

16 100.

17                                   JURISDICTION AND VENUE

18          14.    On information and belief, Plaintiff alleges that many of the occurrences,

19 representations, and events upon which this action is based took place in County of San Francisco,

20 State of California, where the vast majority of Defendants reside or have their principal place of

21 business, and the vast majority of the occurrences, representations, and events upon which this

22 action is based took place in the State of California.

23                                    GENERAL ALLEGATIONS

24                                         Overview Of The Case

25          A.     The Risk Of Artificial General Intelligence

26          15.    Over the course of the 20th century, the United States gradually shifted from a

27 primarily human labor-based economy to a primarily human knowledge-based economy, with

28 economic value increasingly created primarily by human intelligence. As the century progressed,

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 1 another paradigm shift was already underway: value creation through artificial intelligence (AI).

 2 Early AI programs were capable of outperforming humans in certain discrete tasks. Almost

 3 immediately after the invention of the programmable computer, AI could show super-human

 4 performance on a highly formalized problem like finding the fastest path through a network of roads.

 5 It took longer for AI to reach superiority for problems requiring more creativity. In 1996, IBM’s

 6 Deep Blue AI program beat Gary Kasparov, the then-world champion in chess. These programs,

 7 while useful, were essentially one-trick-ponies—their intelligence was not general. Deep Blue had

 8 massive arrays of processors that could only play chess. Algorithms for path finding could solve a

 9 maze or route a car, but they could not paint a painting.

10          16.    Starting in the late 2000s and early 2010s, an older algorithm called “deep learning”

11 became practical to implement on low-cost hardware for the first time. This caused an almost

12 overnight revolution in performance across nearly all AI projects. New, top of class algorithms were

13 developed for turning speech into text, translating between languages, and recognizing what kind of

14 food is shown in a photo. One of the hallmarks of deep learning is that algorithms do not need to be

15 designed with significant knowledge of the task at hand. They learn each task from training

16 examples, essentially programming themselves. This means that they are far more general-purpose

17 than earlier systems like Deep Blue.

18          17.    As deep learning algorithms became increasingly sophisticated, some of the world’s

19 leading AI researchers set their sights on what has come to be called Artificial General Intelligence

20 (AGI). The basic concept of AGI is a general purpose artificial intelligence system—a machine

21 having intelligence for a wide variety of tasks like a human.

22          18.    Mr. Musk has long recognized that AGI poses a grave threat to humanity—perhaps

23 the greatest existential threat we face today. His concerns mirrored those raised before him by

24 luminaries like Stephen Hawking and Sun Microsystems founder Bill Joy. Our entire economy is

25 based around the fact that humans work together and come up with the best solutions to a hard task.

26 If a machine can solve nearly any task better than we can, that machine becomes more economically

27 useful than we are. As Mr. Joy warned, with strong AGI, “the future doesn’t need us.” Mr. Musk

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 1 publicly called for a variety of measures to address the dangers of AGI, from voluntary moratoria

 2 to regulation, but his calls largely fell on deaf ears.

 3          19.     But where some like Mr. Musk see an existential threat in AGI, others see AGI as a

 4 source of profit and power.

 5          20.     In 2014, Google acquired DeepMind, a research group focused on deep learning.

 6 One of DeepMind’s initial developments was AlphaZero, a chess playing algorithm. Unlike

 7 previous algorithms, however, AlphaZero used “reinforcement learning,” wherein the program

 8 learns to play chess by playing itself with different versions of the software. It starts by playing

 9 randomly, with no understanding of the game’s strategy. When one version of the software wins a

10 game against another, the winning program’s internal pathways are “reinforced” and the process

11 repeats.

12          21.     AlphaZero rapidly became the strongest chess playing system in the world.

13 Shockingly, it was also announced that the same program was also the strongest in the world for

14 playing two other extremely difficult games. In Google/DeepMind’s words, “Starting from random

15 play, and given no domain knowledge except the game rules, AlphaZero achieved within 24 hours

16 a superhuman level of play in the games of chess and shogi (Japanese chess) as well as Go, and

17 convincingly defeated a world-champion program in each case.”

18          22.     With the DeepMind team, Google immediately catapulted to the front of the race for

19 AGI. Mr. Musk was deeply troubled by this development. He believed (and still does) that in the

20 hands of a closed, for-profit company like Google, AGI poses a particularly acute and noxious

21 danger to humanity. In 2014, it was already difficult enough to compete with Google in its core

22 businesses. Google had collected a uniquely large set of data from our searches, our emails, and

23 nearly every book in our libraries. Nevertheless, up to this point, everyone had the potential to

24 compete with Google through superior human intelligence and hard work. AGI would make

25 competition nearly impossible.

26          B.      The Founding Agreement Of OpenAI, Inc.

27          23.     Mr. Altman purported to share Mr. Musk’s concerns over the threat posed by AGI.

28 In 2015, Mr. Altman wrote that the “[d]evelopment of superhuman machine intelligence (SMI) is

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 1 probably the greatest threat to the continued existence of humanity. There are other threats that I

 2 think are more certain to happen . . . but are unlikely to destroy every human in the universe in the

 3 way that SMI could.” Later that same year, Mr. Altman approached Mr. Musk with a proposal: that

 4 they join forces to form a non-profit AI lab that would try to catch up to Google in the race for AGI,

 5 but it would be the opposite of Google.

 6          24.    Together with Mr. Brockman, the three agreed that this new lab: (a) would be a non-

 7 profit developing AGI for the benefit of humanity, not for a for-profit company seeking to maximize

 8 shareholder profits; and (b) would be open-source, balancing only countervailing safety

 9 considerations, and would not keep its technology closed and secret for proprietary commercial

10 reasons (The “Founding Agreement”). Reflecting the Founding Agreement, Mr. Musk named this

11 new AI lab “OpenAI,” which would compete with, and serve as a vital counterbalance to,

12 Google/DeepMind in the race for AGI, but would do so to benefit humanity, not the shareholders

13 of a private, for-profit company (much less one of the largest technology companies in the world).

14          25.    The Founding Agreement was also memorialized, among other places, in OpenAI,

15 Inc.’s December 8, 2015 Certificate of Incorporation, which affirmed that its “resulting technology

16 will benefit the public and the corporation will seek to open source technology for the public benefit

17 when applicable. The corporation is not organized for the private gain of any person.” Ex. 1 at 1.

18 The Certificate of Incorporation further affirmed that all of the corporation’s property was

19 “irrevocably dedicated” to these agreed purposes. Id.

20          26.    In reliance on the Founding Agreement, which Mr. Altman, Mr. Brockman, and

21 OpenAI, Inc. reaffirmed with Mr. Musk on multiple occasions, Mr. Musk was a moving force

22 behind the creation of OpenAI, Inc. contributing a majority of its funding in its first several years,

23 advising on research directions, and most importantly, recruiting some of the world’s leading

24 scientists and engineers to work at the non-profit venture, including Chief Scientist Ilya Sutskever.

25 Recruiting for OpenAI, Inc. was a Herculean task in the face of relentless recruiting efforts by

26 Google/DeepMind, coupled with the lavish compensation Google/DeepMind offered. There would

27 have been no OpenAI, Inc. without Mr. Musk’s founding contributions and early leadership. Mr.

28

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 1 Musk continued to make contributions to OpenAI, Inc. from its founding through September 14,

 2 2020.

 3          27.    OpenAI’s initial research was performed in the open, providing free and public

 4 access to designs, models, and code. When OpenAI, Inc. researchers discovered that an algorithm

 5 called “Transformers,” initially invented by Google, could perform many natural language tasks

 6 without any explicit training, entire communities sprung up to enhance and extend the models

 7 released by OpenAI, Inc. These communities spread to open-source, grass-roots efforts and

 8 commercial entities alike.

 9          28.    Mr. Altman became OpenAI, Inc.’s CEO in 2019. On September 22, 2020, OpenAI

10 entered into an agreement with Microsoft, exclusively licensing to Microsoft its Generative Pre-

11 Trained Transformer (GPT)-3 language model. However, OpenAI published a detailed paper

12 describing the internals and training data for GPT-3, enabling the community to create similar

13 models themselves. And, most critically, the Microsoft license only applied to OpenAI’s pre-AGI

14 technology. Microsoft obtained no rights to AGI. And it was up to OpenAI, Inc.’s non-profit Board,

15 not Microsoft, to determine when OpenAI attained AGI.

16          C.     The 2023 Breach Of The Founding Agreement

17          29.    In 2023, Defendants Mr. Altman, Mr. Brockman, and OpenAI set the Founding

18 Agreement aflame.

19          30.    In March 2023, OpenAI released its most powerful language model yet, GPT-4.

20 GPT-4 is not just capable of reasoning. It is better at reasoning than average humans. It scored in

21 the 90th percentile on the Uniform Bar Exam for lawyers. It scored in the 99th percentile on the

22 GRE Verbal Assessment. It even scored a 77% on the Advanced Sommelier examination. At this

23 time, Mr. Altman caused OpenAI to radically depart from its original mission and historical practice

24 of making its technology and knowledge available to the public. GPT-4’s internal design was kept

25 and remains a complete secret except to OpenAI—and, on information and belief, Microsoft. There

26 are no scientific publications describing the design of GPT-4. Instead, there are just press releases

27 bragging about performance. On information and belief, this secrecy is primarily driven by

28 commercial considerations, not safety. Although developed by OpenAI using contributions from

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 1 Plaintiff and others that were intended to benefit the public, GPT-4 is now a de facto Microsoft

 2 proprietary algorithm, which it has integrated into its Office software suite.

 3          31.      Furthermore, on information and belief, GPT-4 is an AGI algorithm, and hence

 4 expressly outside the scope of Microsoft’s September 2020 exclusive license with OpenAI. In this

 5 regard, Microsoft’s own researchers have publicly stated that, “[g]iven the breadth and depth of

 6 GPT-4’s capabilities, we believe that it could reasonably be viewed as an early (yet still incomplete)

 7 version of an artificial general intelligence (AGI) system.” Moreover, on information and belief,

 8 OpenAI is currently developing a model known as Q* (Q star) that has an even stronger claim to

 9 AGI. As noted, Microsoft only has rights to certain of OpenAI’s pre-AGI technology. But for

10 purposes of the Microsoft license, it is up to OpenAI, Inc.’s Board to determine whether OpenAI

11 has attained AGI, and a Board coup took place in November 2023. On November 17, 2023, OpenAI,

12 Inc.’s Board fired Mr. Altman after losing “confidence in his ability to continue leading OpenAI”

13 because “he was not consistently candid with the board.” In a series of stunning developments

14 spanning the next several days, Mr. Altman and Mr. Brockman, in concert with Microsoft, exploited

15 Microsoft’s significant leverage over OpenAI, Inc. and forced the resignation of a majority of

16 OpenAI, Inc.’s Board members, including Chief Scientist Ilya Sutskever. Mr. Altman was reinstated

17 as CEO of OpenAI, Inc. on November 21. On information and belief, the new Board members were

18 hand-picked by Mr. Altman and blessed by Microsoft. The new Board members lack substantial AI

19 expertise and, on information and belief, are ill equipped by design to make an independent

20 determination of whether and when OpenAI has attained AGI—and hence when it has developed

21 an algorithm that is outside the scope of Microsoft’s license.

22          32.      These events of 2023 constitute flagrant breaches of the Founding Agreement, which

23 Defendants have essentially turned on its head. To this day, OpenAI, Inc.’s website continues to

24 profess that its charter is to ensure that AGI “benefits all of humanity.” In reality, however, OpenAI,

25 Inc. has been transformed into a closed-source de facto subsidiary of the largest technology company

26 in the world: Microsoft.1 Under its new Board, it is not just developing but is actually refining an

27 AGI to maximize profits for Microsoft, rather than for the benefit of humanity. Its technology,

28          1
                Microsoft’s market cap as of February 28, 2024 was $3.03 trillion.

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 1 including GPT-4, is closed-source primarily to serve the proprietary commercial interests of

 2 Microsoft. Indeed, as the November 2023 drama was unfolding, Microsoft’s CEO boasted that it

 3 would not matter “[i]f OpenAI disappeared tomorrow.” He explained that “[w]e have all the IP

 4 rights and all the capability.” “We have the people, we have the compute, we have the data, we have

 5 everything.” “We are below them, above them, around them.”

 6         33.     This case is filed to compel OpenAI to adhere to the Founding Agreement and return

 7 to its mission to develop AGI for the benefit of humanity, not to personally benefit the individual

 8 Defendants and the largest technology company in the world.

 9                                          Detailed Allegations

10         A.      Mr. Musk’s Concerns Over AGI Falling Into The Wrong Hands

11         34.     In 2012, Elon Musk met Demis Hassabis, the co-founder of DeepMind, a for-profit

12 artificial intelligence company. On or about this time, Mr. Musk and Mr. Hassabis met at SpaceX’s

13 factory in Hawthorne, California where Mr. Musk and Mr. Hassabis discussed the greatest threats

14 facing society. During this conversation, Mr. Hassabis emphasized the potential dangers that the

15 advancement of AI presents to society.

16         35.     Following this conversation with Mr. Hassabis, Mr. Musk became increasingly

17 concerned about the potential of AI to become super-intelligent, surpass human intelligence, and

18 threaten humanity. Indeed, Mr. Musk was not the only person afraid about the dangers of AI and

19 the research being conducted at DeepMind. It has been reported that following a meeting with Mr.

20 Hassabis and investors in DeepMind, one of the investors remarked that the best thing he could have

21 done for the human race was shoot Mr. Hassabis then and there.

22         36.     Mr. Musk began discussing AI and DeepMind with those in his orbit, such as Larry

23 Page, then-CEO of Google’s parent company Alphabet, Inc. Mr. Musk would frequently raise the

24 dangers of AI in his conversations with Mr. Page, but to Mr. Musk’s shock, Mr. Page was

25 unconcerned. For example, in 2013, Mr. Musk had a passionate exchange with Mr. Page about the

26 dangers of AI. He warned that unless safeguards were put in place, “artificial intelligence-systems

27 might replace humans, making our species irrelevant or even extinct.” Mr. Page responded that

28 would merely “be the next stage of evolution,” and claimed Mr. Musk was being a “specist”—that

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 1 he favored the human species over intelligent machines. Mr. Musk responded, “Well, yes, I am pro-

 2 human.”

 3         37.     At the end of 2013, Mr. Musk learned to his grave concern that Google was planning

 4 to acquire DeepMind. At the time, DeepMind was one of the most advanced AI companies in the

 5 industry. Thus, Mr. Musk was deeply concerned that DeepMind’s AI technology would be in the

 6 hands of someone who viewed it and its power so cavalierly, and could hide its design and

 7 capabilities behind closed doors.

 8         38.     In an effort to prevent this powerful technology from falling into Google’s hands,

 9 Mr. Musk and Luke Nosek, a co-founder of PayPal, attempted to put together funding to buy

10 DeepMind. This effort culminated in an hour-long call wherein Mr. Musk and Mr. Nosek made one

11 last effort to convince Mr. Hassabis not to sell DeepMind to Google. Mr. Musk told Mr. Hassabis

12 that “[t]he future of AI should not be controlled by Larry [Page].”

13         39.     Mr. Musk and Mr. Nosek’s effort was unsuccessful. It was reported in January 2014

14 that DeepMind would be acquired by Google. However, this did not deter Mr. Musk from continuing

15 to ensure that AI was developed and practiced safely.

16         40.     Following Google’s acquisition of DeepMind, Mr. Musk began “hosting his own

17 series of dinner discussions on ways to counter Google and promote AI safety.” Mr. Musk also

18 reached out to President Barack Obama to discuss AI and AI safety. In 2015, Mr. Musk and

19 President Obama had a meeting during which Mr. Musk explained the dangers of AI and advocated

20 for regulation. Mr. Musk felt that President Obama understood the dangers of AI, but regulation

21 never came.

22         41.     Despite these setbacks, Mr. Musk continued to advocate for safe AI practices. In

23 2015, it appeared that Mr. Musk may have found someone who understood his concerns about AI

24 and his desire to keep the first AGI out of the hands of a private company like Google: Defendant

25 Sam Altman.

26         42.     At this time, Mr. Altman was the president of Y Combinator, a start-up accelerator

27 in Silicon Valley. Before that, Mr. Altman had been involved in various startup ventures.

28

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 1          43.    Mr. Altman appeared to share Mr. Musk’s concerns surrounding AI. In public blog

 2 posts dating back to 2014, Mr. Altman stated that AGI, if made, would “be the biggest development

 3 in technology ever.” Mr. Altman pointed out that there are many companies making strides towards

 4 achieving AGI, but acknowledged the unfortunate reality that the “good ones are very secretive

 5 about it.”

 6          44.    On February 25, 2015, Mr. Altman also expressed his concern surrounding the

 7 development of what he referred to as “superhuman machine intelligence” which he identified as

 8 “probably the greatest threat to the continued existence of humanity” and emphasized that “as a

 9 human programmed to survive and reproduce, I feel we should fight it.” Further, Mr. Altman

10 criticized those who believed that “superhuman machine intelligence” was dangerous but dismissed

11 it as “never going to happen or definitely very far off.” He accused them of engaging in “sloppy,

12 dangerous thinking.”

13          45.    Indeed, in early March 2015, Mr. Altman extolled the importance of government

14 regulation as a means to ensure AI is created safely and suggested that “a group of very smart people

15 with a lot of resources” likely involving “US companies in some way” would be the most probable

16 group to achieve “superhuman machine intelligence” first.

17          46.    Later that month, Mr. Altman reached out to Mr. Musk to inquire whether he would

18 be interested in drafting an open letter to the United States Government regarding AI. The two began

19 preparing a letter and approaching those of influence in the technology and AI sectors about signing.

20 It did not take long before those across the industry heard rumors of the letter.

21          47.    For example, in April of 2015, Mr. Hassabis reached out to Mr. Musk stating that he

22 had heard from multiple sources that Mr. Musk was drafting a letter addressed to the President

23 calling for regulation of AI. Mr. Musk defended the idea of the regulation of AI to Mr. Hassabis,

24 stating: “If done well, it may very well accelerate AI in the long term. Without the public comfort

25 that regulatory oversight provides, there could very well be a situation where an AI causes great

26 harm and thereafter AI research is banned as dangerous to public safety.”

27          48.    Five days after Mr. Hassabis reached out to Mr. Musk about the open letter regarding

28 AI, Mr. Hassabis announced the first meeting of the Google DeepMind AI Ethics Board, a board

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 1 that Google and DeepMind promised to establish two years earlier when Google acquired

 2 DeepMind. Mr. Musk was asked to be a member of the board and offered for the first meeting to be

 3 hosted at SpaceX in Hawthorne, California. It became clear to Mr. Musk after the first meeting that

 4 this board was not a serious endeavor, but was rather a façade to try to slow down any regulation

 5 of AI.

 6          49.     The Open Letter was later published on October 28, 2015, and signed by over eleven

 7 thousand individuals, including Mr. Musk, Stephen Hawking, and Steve Wozniak.

 8          B.      OpenAI, Inc.’s Founding Agreement

 9          50.     On May 25, 2015, Mr. Altman emailed Mr. Musk, writing that he had “[b]een

10 thinking a lot about whether it’s possible to stop humanity from developing AI. I think the answer

11 is almost definitely not. If it’s going to happen, it seems like it would be good for someone other

12 than Google to do it first.” Mr. Altman had an idea: that Y Combinator start a “Manhattan Project”

13 for AI. (Unfortunately, it turns out that the “Manhattan Project” is a moniker that may be all too

14 apt.) He proposed that “we could structure it so that the tech belongs to the world via some sort of

15 nonprofit but the people working on it get startup-like compensation if it works. Obviously we’d

16 comply with/aggressively support all regulation.” Mr. Musk responded, “Probably worth a

17 conversation.”

18          51.     After further communications, Mr. Altman emailed Mr. Musk on June 24, 2015 with

19 a detailed proposal for this new “AI lab.” “The mission would be to create the first general AI and

20 use it for individual empowerment—ie, the distributed version of the future that seems the safest.

21 More generally, safety should be a first-class requirement.” “The technology would be owned by

22 the foundation and used ‘for the good of the world’[.]” He proposed that they start with a group of

23 7-10 people and expand from there. He also proposed a governance structure. Mr. Musk responded,

24 “Agree on all.” Ex. 2 at 1.

25          52.     Soon thereafter, Mr. Altman began recruiting others to help with the development of

26 the project. Notably, Mr. Altman approached Gregory Brockman to help with the project.

27          53.     In November 2015, Mr. Altman put Mr. Brockman in communication with Mr. Musk

28 via email. Regarding the project, Mr. Brockman told Mr. Musk, “I hope for us to enter the field as

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 1 a neutral group looking to collaborate widely and shift the dialog towards being about humanity

 2 winning rather than any particular group or company. (I think that’s the best way to bootstrap

 3 ourselves into being a leading research institution.).” Optimistic about the possibility of a neutral AI

 4 research group focused on humanity rather than profit for any particular individual or group,

 5 Mr. Musk told Mr. Brockman that he would commit funding.

 6          54.    Mr. Musk came up with the name of the new lab, a name reflecting the Founding

 7 Agreement: “Open AI Institute,” or simply, “OpenAI.”

 8          55.    With these principles of the Founding Agreement in mind, Mr. Musk joined forces

 9 with Mr. Altman and Mr. Brockman to formalize and launch the project. Mr. Musk was actively

10 involved in the project, even prior to it being publicly announced. For example, Mr. Musk advised

11 Mr. Brockman on compensation packages for employees, sharing with Mr. Brockman his strategies

12 for compensation and retaining talent.

13          56.    On December 8, 2015, a Certificate of Incorporation for OpenAI, Inc. was filed with

14 the Delaware Secretary of State. The Certificate memorialized in writing the Founding Agreement:

15          THIRD: This Corporation shall be a nonprofit corporation organized exclusively for
            charitable and/or educational purposes within the meaning of section 501(c)(3) of
16          the Internal Revenue Code of 1986, as amended, or the corresponding provision of
            any future United States Internal Revenue law. The specific purpose of this
17
            corporation is to provide funding for research, development and distribution of
18          technology related to artificial intelligence. The resulting technology will benefit the
            public and the corporation will seek to open source technology for the public benefit
19          when applicable. The corporation is not organized for the private gain of any
            person. . . .
20
            FIFTH: The property of this corporation is irrevocably dedicated to the purposes in
21          Article THREE hereof and no part of the net income or assets of this corporation
22          shall ever inure to the benefit of any director, officer or member thereof or to the
            benefit of any private person. Upon the dissolution or winding up of this corporation,
23          its assets remaining after payment, or provision for payment, of all debts and
            liabilities of this corporation shall be distributed to a nonprofit fund, foundation, or
24          corporation which is organized and operated exclusively for charitable, educational
            and/or religious purposes and which has established its tax exempt status under
25
            Internal Revenue Code section 501(c)(3), or the corresponding section of any future
26          federal tax code, or shall be distributed to the federal government, or to a state or
            local government, for a public purpose.
27

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 1          57.     OpenAI, Inc. was publicly announced on December 11, 2015. In the announcement,

 2 Mr. Musk and Mr. Altman were named as co-chairs and Mr. Brockman was named as the CTO. The

 3 announcement emphasized that OpenAI was designed to “benefit humanity,” and its research would

 4 be “free from financial obligation”:

 5          OpenAI is a non-profit artificial intelligence research company. Our goal is to
            advance digital intelligence in the way that is most likely to benefit humanity as a
 6          whole, unconstrained by a need to generate financial return. Since our research is
            free from financial obligations, we can better focus on a positive human impact.
 7

 8 Ex. 3 at 1.

 9          C.      Mr. Musk’s Crucial Role In Getting OpenAI, Inc. Off The Ground
10          58.     In an email on the day of the public announcement, Mr. Musk wrote that “[o]ur most

11 important consideration is recruitment of the best people.” He pledged that helping with the

12 recruiting effort would be his “absolute top priority 24/7.” He acknowledged that “[w]e are

13 outmanned and outgunned by a ridiculous margin by organizations you know well, but we have

14 right on our side and that counts for a lot. I like the odds.” Mr. Musk brought to bear his connections,

15 stature and clout in the effort. The fact that OpenAI, Inc. was an Elon Musk-sponsored initiative,

16 and that Mr. Musk served as co-chair, was instrumental to OpenAI, Inc.’s recruiting efforts,

17 particularly in the face of Google/DeepMind’s counter-recruiting. Without Mr. Musk’s involvement

18 and substantial supporting efforts and resources—his consideration for the Founding Agreement—

19 it is highly likely that OpenAI, Inc. would never have gotten off the ground.

20          59.     One of the most important initial hires was for the role of Chief Scientist. Mr.

21 Altman, Mr. Brockman, and Mr. Musk all wanted Ilya Sutskever, then a research scientist at Google,

22 in that role. Dr. Sutskever went back and forth on whether to leave Google and join the project, but

23 it was ultimately a call from Mr. Musk on the day OpenAI, Inc. was publicly announced that

24 convinced Dr. Sutskever to commit to joining the project as OpenAI, Inc.’s Chief Scientist.

25          60.     Mr. Musk actively recruited for OpenAI, Inc. over the next several months.

26 Google/DeepMind made increasingly lavish counter-offers to OpenAI, Inc. recruits in an attempt to

27 kill the new venture. In late February, Mr. Musk emailed Mr. Brockman and Mr. Altman, reiterating

28 that “[w]e need to do what it takes to get the top talent. Let’s go higher. If, at some point, we need

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 1 to revisit what existing people are getting paid, that’s fine. Either we get the best people in the world

 2 or we will get whipped by Deepmind. Whatever it takes to bring on ace talent is fin[e] by me.

 3 Deepmind is causing me extreme mental stress. If they win, it will be really bad news with their one

 4 mind to rule the world philosophy. They are obviously making major progress and well they should,

 5 given the talent level over there.”

 6          61.     Mr. Musk was not just using his connections and clout to recruit on behalf of OpenAI,

 7 Inc. When he told Mr. Brockman and Mr. Altman to go “higher” in their offers and “do what it takes

 8 to get the top talent,” he was the one funding those higher offers. In 2016 alone, Mr. Musk

 9 contributed over $15 million dollars to OpenAI, Inc., more than any other donor. The funding he

10 provided enabled OpenAI, Inc. to assemble a team of top talent. Similarly, in 2017, Mr. Musk

11 contributed nearly $20 million dollars to OpenAI, Inc., again, more than any other donor. All told,

12 Mr. Musk contributed more than $44 million to OpenAI, Inc. between 2016 and September 2020.

13          62.     In addition, through Musk Industries LLC, Mr. Musk leased OpenAI, Inc.’s initial

14 office space in the Pioneer Building in San Francisco and paid the monthly rental expenses. Mr.

15 Musk regularly visited OpenAI, Inc., and was present for important company milestones, such as

16 when the first DGX-1 AI supercomputer was donated to OpenAI, Inc. in 2016. Mr. Musk would

17 receive updates on OpenAI, Inc.’s progress and would provide his feedback and advice.

18          D.      Mr. Altman And Mr. Brockman Repeatedly Reaffirm The Founding Agreement

19          63.     In 2017, Mr. Brockman and others suggested transforming OpenAI, Inc. from a non-

20 profit to a for-profit corporation. After a series of communications over several weeks, Mr. Musk

21 told Mr. Brockman, Dr. Sutskever, and Mr. Altman “[e]ither go do something on your own or

22 continue with OpenAI as a nonprofit. I will no longer fund OpenAI until you have made a firm

23 commitment to stay or I’m just being a fool who is essentially providing free funding to a startup.

24 Discussions are over.”

25          64.     In response, Mr. Altman told Mr. Musk “[I] remain enthusiastic about the non-profit

26 structure!” Ultimately, Mr. Brockman and Mr. Sustkever conveyed to Mr. Musk that they, too, were

27 resolved to continuing the non-profit structure, and that they would spend the next year committed

28 to fundraising to support the non-profit.

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 1          65.     On February 21, 2018, Mr. Musk stepped down as a co-chair of OpenAI, Inc.

 2 Nevertheless, Mr. Musk continued making contributions to OpenAI, Inc. relying on, and in

 3 furtherance of, the Founding Agreement. For example, in 2018, Mr. Musk donated approximately

 4 $3.5 million to OpenAI, Inc. He also continued receiving updates about OpenAI, Inc. from Mr.

 5 Brockman, Dr. Sutskever, and Mr. Altman.

 6          66.     In April 2018, Mr. Altman sent Mr. Musk a draft OpenAI Charter and solicited his

 7 feedback. The draft charter described OpenAI’s mission as to ensure that AGI “benefits all of

 8 humanity.” It stated, “We commit to use any influence we obtain over AGI’s deployment to ensure

 9 it is used for the benefit of all, and to avoid enabling uses of AI or AGI that harm humanity or unduly

10 concentrate power. Our primary fiduciary duty is to humanity. We anticipate needing to marshal

11 substantial resources to fulfill our mission, but will always assiduously act to minimize conflicts of

12 interest . . . that could compromise broad benefit.”

13          67.     On March 11, 2019, OpenAI, Inc. announced that it would be creating a for-profit

14 subsidiary: OpenAI, L.P. Prospective investors were notified of an “important warning” at the top

15 of the summary term sheet that the for-profit entity “exists to advance OpenAI Inc.’s [the non-

16 profit’s] mission of ensuring that safe artificial general intelligence is developed and benefits all of

17 humanity. The General Partner’s duty to this mission and the principles advanced in the OpenAI

18 Inc. Charter take precedence over any obligation to generate a profit.” Accordingly, investors were

19 expressly advised that “[i]t would be wise to view any investment in OpenAI LP in the spirit of a

20 donation.”

21          68.     Following the announcement, Mr. Musk reached out to Mr. Altman asking him to

22 “be explicit that I have no financial interest in the for-profit arm of OpenAI.” However, Mr. Musk

23 continued to support OpenAI, Inc., the non-profit, donating an additional $3.48 million in 2019.

24          69.     On September 22, 2020, OpenAI announced that it exclusively licensed certain of its

25 pre-AGI technology to Microsoft. Consistent with the Founding Agreement, OpenAI’s website

26 states that AGI, which it describes as “a highly autonomous system that outperforms humans at most

27 economically valuable work” “is excluded from IP licenses and other commercial terms with

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 1 Microsoft, which only apply to pre-AGI technology.” However, OpenAI’s Board “determines when

 2 we’ve attained AGI.”

 3         E.     OpenAI’s Shifting Corporate Structure

 4         70.    In the years following the announcement of the OpenAI, L.P., OpenAI’s corporate

 5 structure became increasingly complex. OpenAI, L.L.C. was formed in Delaware on September 17,

 6 2020. OpenAI, L.L.C.’s sole member is OpenAI OpCo, LLC.

 7         71.    OpenAI OpCo, LLC was formed in Delaware on September 19, 2018, and its sole

 8 member is OpenAI Global, LLC.

 9         72.    OpenAI Global, LLC was formed in Delaware on December 28, 2022. On

10 information and belief, OpenAI Global, LLC, like OpenAI, L.P., is a capped for-profit entity.

11 OpenAI Global, LLC has two members: Microsoft Corporation and OAI Corporation, LLC.

12         73.    OAI Corporation, LLC is a limited liability company formed in Delaware. The sole

13 member of OAI Corporation, LLC is OpenAI Holdings, LLC.

14         74.    OpenAI Holdings, LLC was formed in Delaware on March 17, 2023, and has

15 multiple members including OpenAI, Inc., Aestas, LLC, and various individual members.

16         75.    On information and belief, OpenAI, Inc. manages OpenAI, L.P. and OpenAI Global,

17 LLC through its general partner, OpenAI GP, L.L.C., which was registered as a limited liability

18 company in Delaware on September 19, 2018. OpenAI GP, L.L.C. is wholly owned by OpenAI,

19 Inc. (the non-profit), and is controlled by the non-profit’s Board of Directors. Under OpenAI’s

20 charter, the Board has no fiduciary duties to shareholders; rather, its sole fiduciary duty is to

21 humanity.

22         76.    On information and belief, at least OpenAI, L.P. and OpenAI GP LLC were initially

23 established to facilitate and fund OpenAI, Inc.’s non-profit mission as set forth in the Founding

24 Agreement.

25         F.     The Development Of OpenAI’s Technology—From AI To AGI

26         77.    Initial work at OpenAI followed much in the footsteps of DeepMind. OpenAI used

27 reinforcement learning to play a game. Instead of playing chess, however, OpenAI competed in

28 Dota 2, a strategy video game with far more moving pieces than chess. OpenAI’s team quickly

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 1 constructed a new model that beat the reigning world champion team, demonstrating “that self-play

 2 reinforcement learning can achieve superhuman performance on a difficult task.”

 3         78.     Meanwhile, at Google, an algorithm called the Transformer was created that solved

 4 many of the issues deep learning had faced in understanding long sequences of text. This algorithm,

 5 an example of a “large-language model,” was developed to translate text from one language to

 6 another and works by forming connections between words in the source language and mapping

 7 those connections to the target language.

 8         79.     Researchers at OpenAI continued this research and quickly produced yet another

 9 startling result: by using the first half of Google’s Transformer architecture, a deep neural network

10 could be pre-trained on a large corpus of text and used to generate new text. In January 2018,

11 OpenAI released the source code and trained model for this Generative Pre-Trained Transformer

12 (GPT) along with a detailed paper describing the model and its capabilities

13         80.     In 2019, OpenAI released a second-generation model, GPT-2. The release was again

14 accompanied by a detailed paper describing the model and noting that unlike previous models,

15 which needed to be trained on a specific task, “[w]hen a large language model is trained on a

16 sufficiently large and diverse dataset it is able to perform well across many domains and datasets.”

17 These models were proving themselves to be very different from previous AI systems. Instead of

18 training the system to perform a particular task, they could be simply “asked” to perform a new task

19 in natural language.

20         81.     As contemplated by the Founding Agreement, OpenAI publicly released the full

21 version of GPT-2. Notably, it did so despite the fact that “humans find GPT-2 outputs convincing,”

22 that “GPT-2 can be fine-tuned for misuse,” and that “detection [of GPT generated text] is

23 challenging.” At the time, OpenAI stated that it was releasing the full, open version with the hope

24 that it “will be useful to developers of future powerful models.” This release was accompanied by a

25 detailed paper co-authored by OpenAI scientists as well as independent social and technical

26 scientists. This paper explained just some of the many benefits that came from releasing models

27 publically as opposed to keeping them closed.

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 1         82.    Their publication did prove to be useful to the developers of future, powerful models.

 2 Entire communities sprung up to enhance and extend the models released by OpenAI. These

 3 communities spread to open-source, grass-roots efforts and commercial entities alike.

 4         83.    In 2020, OpenAI announced a third version of its model, GPT-3. It used “175 billion

 5 parameters, 10x more than any previous non-sparse language model.” Again, OpenAI announced

 6 the development of this model with the publication of a research paper describing its complete

 7 implementation for others to build on.

 8         84.    In 2022, researchers at Google took these results and showed that a small change

 9 called chain-of-thought prompting could enable “large language models to perform complex

10 reasoning.” Researchers at the University of Tokyo and Google quickly expanded on Google’s

11 results and showed that OpenAI’s GPT-3 could reason about an entirely new problem in a step-by-

12 step manner, like a human, “by simply adding ‘Let’s think step by step’ before each answer.”

13         85.    A path to Artificial Generative Intelligence could be seen. And the timeline to it was

14 dramatically compressing.

15         86.    On March 14, 2023, OpenAI released a new generation of its model, GPT-4. This

16 generation was not just capable of reasoning but was better at reasoning than average humans.

17 GPT-4 scored in the 90th percentile on the Uniform Bar Exam. It scored in the 99th percentile on

18 the GRE Verbal Assessment. It even scored a 77% on the Advanced Sommelier examination. By

19 OpenAI’s own objective measures, GPT-4 is already capable of intelligence that is superior to

20 humans on a wide variety of economically valuable tasks.

21         87.    This development was not lost on the research community. In a detailed analysis

22 titled “Sparks of Artificial General Intelligence: Early experiments with GPT-4,” Microsoft

23 researchers note that “GPT-4 can solve novel and difficult tasks that span mathematics, coding,

24 vision, medicine, law, psychology and more, without needing any special prompting. Moreover, in

25 all of these tasks, GPT-4’s performance is strikingly close to human-level performance, and often

26 vastly surpasses prior models such as [GPT-3.5 based] ChatGPT.”

27         88.    They compared the performance of GPT-4 with the performance of GPT-3 based

28 systems and found that “there is no comparison with the outputs from GPT-4.” On mathematical

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 1 problems, they show that “[t]he solution given by GPT-4 is correct and the argument is sound, while

 2 ChatGPT [based on GPT-3] produces an incorrect solution which (in the case of a human) would

 3 reflect a lack of understanding of the concept of function inversion.” On another example, they show

 4 that “GPT-4 gives a correct solution while ChatGPT begins by rearranging the terms without any

 5 clear direction or purpose, and ends up with an incorrect solution.”

 6          89.    Microsoft’s own scientists acknowledge that GPT-4 “attains a form of general

 7 intelligence” and that “[g]iven the breadth and depth of GPT-4’s capabilities, we believe that it could

 8 reasonably be viewed as an early (yet still incomplete) version of an artificial general intelligence

 9 (AGI) system.”

10          G.     The Founding Agreement Is Breached In 2023

11          90.    Having reached the threshold of AGI, which under the Founding Agreement they

12 were to develop for the benefit of humanity rather than for any for-profit company or personal profit,

13 Defendants instead radically departed from their mission in breach of the Founding Agreement.

14 GPT-4 is an entirely closed model. The internal design of GPT-4 remains a secret and no code has

15 been released. OpenAI has not published a paper describing any aspect of its internal design; it has

16 simply issued press releases boasting about its performance. The internal details of GPT-4 are

17 known only to OpenAI and, on information and belief, to Microsoft. GPT-4 is hence the opposite

18 of “open AI.” And it is closed for propriety commercial reasons: Microsoft stands to make a fortune

19 selling GPT-4 to the public, which would not be possible if OpenAI—as it is required to do—makes

20 the technology freely available to the public. Contrary to the Founding Agreement, Defendants have

21 chosen to use GPT-4 not for the benefit of humanity, but as proprietary technology to maximize

22 profits for literally the largest company in the world. Further, OpenAI’s entire development is now

23 veiled in secrecy and the public only has rumors and isolated fragments of communications to

24 understand what may be released next.

25          91.    Researchers have pointed out that one of the remaining limitations of GPT

26 architecture-based AIs is that they generate their output a piece at a time and cannot “backtrack.”

27 These issues have been seen before in artificial intelligence research and have been largely solved

28 for other applications. In path and maze finding, AI must be able to find the right path despite the

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 1 existence of dead-ends along the way. The standard algorithm to perform this is called “A*”

 2 (pronounced A-star).

 3         92.     Reuters has reported that OpenAI is developing a secretive algorithm called Q*.

 4 While it is not clear what Q* is, Reuters has reported that several OpenAI staff members wrote a

 5 letter warning about the potential power of Q*. It appears Q* may now or in the future be a part of

 6 an even clearer and more striking example of artificial general intelligence that has been developed

 7 by OpenAI. As an AGI, it would be explicitly outside the scope of OpenAI’s license with Microsoft,

 8 and must be made available for the benefit of the public at large.

 9         93.     For purposes of the license with Microsoft, OpenAI, Inc.’s Board determines whether

10 OpenAI has attained AGI, and in a series of shocking developments described in more detail below,

11 a majority of OpenAI, Inc.’s Board was forced to resign on November 22, 2023, and their

12 replacements were, on information and belief, handpicked by Mr. Altman and Microsoft.

13         94.     On November 17, 2023, OpenAI, Inc.’s Board dismissed Mr. Altman. OpenAI

14 announced in a blog post that Mr. Altman had been fired and his “departure follows a deliberative

15 review process by the board, which concluded that he was not consistently candid in his

16 communications with the board, hindering its ability to exercise its responsibilities. The board no

17 longer has confidence in his ability to continue leading OpenAI.”

18         95.     Mr. Brockman was also removed from the Board but was told he would retain his

19 role at OpenAI.

20         96.     At the time, the Board consisted of Helen Toner, Adam D’Angelo, Tasha McCauley,

21 Dr. Sutskever, Mr. Brockman, and Mr. Altman. In addition to serving on the Board, Ms. Toner is a

22 researcher and advisor for the Center for the Governance of AI (GovAI) and the Director of Strategy

23 at Georgetown’s Center for Security and Emerging Technology. Ms. McCauley is a Senior

24 Management Scientist at RAND Corporation, a nonprofit which specializes in public policy

25 decision making. She is also an advisor for GovAI. Mr. D’Angelo—the only board member to

26 remain after Mr. Altman’s reinstatement—is a tech CEO and entrepreneur.

27         97.     The choice to include on OpenAI, Inc.’s Board multiple academics and public policy

28 experts with deep AI policy experience, most of whom had no financial stake in the company, was

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 1 deliberate. This composition of financially disinterested Board members with strong records of

 2 public service ensured that the Board would put the nonprofit’s principal beneficiary—humanity—

 3 before financial success. This safeguard was put in place for the Board in furtherance of OpenAI,

 4 Inc.’s non-profit mission and the Founding Agreement: to safely create AGI which would benefit

 5 humanity, not the pecuniary interests of a for-profit company.

 6           98.    On information and belief, Mr. Altman’s firing was due in part to OpenAI’s

 7 breakthrough in realizing AGI. In fact, news reports suggested that there was a rift among OpenAI

 8 Board members and executives regarding safety concerns and the potential threat posed by

 9 OpenAI’s next generation Q*.

10           99.    News of Mr. Altman’s ouster spread rapidly. Following the Board’s announcement

11 that Mr. Altman was fired, Mr. Brockman announced he would be leaving OpenAI with Mr. Altman.

12           100.   When Microsoft CEO Satya Nadella learned of Mr. Altman’s firing, he was

13 reportedly furious. As a 49% shareholder in OpenAI’s for-profit arm, Mr. Nadella felt that Microsoft

14 should have been consulted before Mr. Altman’s firing. However, at this time, outside of Mr.

15 Altman, OpenAI, Inc.’s Board had no ties to Microsoft, and no fiduciary duty to investors in the for-

16 profit arm. Rather, on information and belief, Mr. Altman was the primary liaison between

17 Microsoft and OpenAI, Inc.

18           101.   Mr. Nadella invited Mr. Altman and Mr. Brockman to lead a new Microsoft AI

19 research lab, unbound by the constraints of OpenAI, Inc.’s humanitarian mission. Nadella made it

20 clear that employees who left OpenAI would be welcome at Microsoft’s new lab with the same

21 salary.

22           102.   Microsoft was confident that, through its substantial ownership in OpenAI’s for-

23 profit arm, it could completely sequester OpenAI, Inc.’s research should the company cease to exist.

24 Indeed, during an interview shortly after Mr. Altman’s firing, Mr. Nadella stated:

25           [W]e were very confident in our own ability. We have all the IP rights and all the
             capability. If OpenAI disappeared tomorrow, I don’t want any customer of ours to
26           be worried about it quite honestly, because we have all of the rights to continue the
             innovation. Not just to serve the product, but we can go and just do what we were
27
             doing in partnership ourselves. We have the people, we have the compute, we have
28           the data, we have everything.


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 1          103.   Despite Microsoft’s statements regarding their capability to function without

 2 OpenAI, Microsoft never abandoned its plan to secure the reinstatement of Mr. Altman as OpenAI,

 3 Inc.’s CEO. In the days following Mr. Altman’s firing, OpenAI, Inc.’s Board was faced with

 4 mounting pressure from lawyers and major shareholders, including Microsoft, to reinstate Mr.

 5 Altman.

 6          104.   Ms. Toner was specifically targeted in efforts to reinstate Mr. Altman. During these

 7 efforts, a lawyer for OpenAI told Ms. Toner that she and the Board could face claims for breach of

 8 their fiduciary duties to investors should OpenAI fail due to Mr. Altman’s firing.

 9          105.   However, the OpenAI, Inc. Board has never had a fiduciary duty to investors. In fact,

10 all investors in the for-profit arm are told that the company’s duty to its mission takes precedence

11 over its duty to its investors, and OpenAI, Inc.’s website clearly indicates it only holds a fiduciary

12 duty to humanity.

13          106.   Ms. Toner, who described the lawyer’s actions as an intimidation tactic, opined that

14 Mr. Altman’s continued removal would in fact advance the company’s mission by promoting the

15 safety of humanity over profit. However, none of this dissuaded the shareholders and Mr. Altman

16 from pushing for his reinstatement.

17          107.   Further, Microsoft had substantial coercive power over OpenAI, Inc. and its Board.

18 During the period of Mr. Altman’s firing, CEO Nadella said the following of Microsoft’s

19 relationship with OpenAI:

20          We are in there. We are below them, above them, around them. We do the kernel
            optimizations, we build tools, we build the infrastructure. So that’s why I think a lot of
21          the industrial analysts are saying, “Oh wow, it’s really a joint project between Microsoft
            and OpenAI.” The reality is we are, as I said, very self-sufficient in all of this.
22

23          108.   Moreover, at the time of the firing, Microsoft had only paid a fraction of a $10 billion

24 investment commitment it had made to OpenAI, giving Microsoft serious leverage over the

25 “independent” non-profit Board. Additionally, if Microsoft withheld its cloud computing system on

26 which OpenAI was reliant, the company would be incapacitated.

27          109.   The pressure on the Board from Mr. Altman and Microsoft continued until

28 November 21, when Mr. Altman was reinstated as the CEO of OpenAI, Inc. and Mr. Brockman re-

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 1 joined as President. One of Mr. Altman’s conditions upon return was that Ms. Toner, Ms. McCauley,

 2 and Dr. Sutskever resign from the Board.

 3          110.   On information and belief, following his return, Mr. Altman hand-picked a new

 4 Board that lacks similar technical expertise or any substantial background in AI governance, which

 5 the previous board had by design. Mr. D’Angelo, a tech CEO and entrepreneur, was the only

 6 member of the previous board to remain after Mr. Altman’s return. The new Board consisted of

 7 members with more experience in profit-centric enterprises or politics than in AI ethics and

 8 governance. They were also reportedly “big fans of Altman.” Two of the new board members were

 9 Bret Taylor and Larry Summers. Mr. Taylor is no stranger to Silicon Valley, and has been heavily

10 involved in various Bay Area profit-driven ventures. On February 14, 2024, Mr. Taylor and ex-

11 Google executive Clay Bavor launched a startup focused on building AI chatbots for businesses.

12 Dr. Summers is an economist who, on information and belief, had no experience working in artificial

13 intelligence-based ventures prior to November 2023. Microsoft also obtained an observer seat on

14 the Board from which it could keep a close eye on its ostensibly non-profit golden goose.

15          111.   With the reinstatement of Mr. Altman and the restructuring of the Board, OpenAI’s

16 corporate structure that had been designed as a system of checks and balances between the non-

17 profit arm, for-profit arm, the Board, and the CEO to ensure the non-profit mission was being carried

18 out, collapsed overnight. OpenAI, Inc.’s once carefully crafted non-profit structure was replaced by

19 a purely profit-driven CEO and a Board with inferior technical expertise in AGI and AI public

20 policy. The Board now has an observer seat reserved solely for Microsoft. With this restructuring,

21 OpenAI, Inc. abandoned its non-profit mission of developing AGI for the benefit of humanity

22 broadly, thereby keeping it out of the hands of a large for-profit corporation in which vast power

23 would be unduly concentrated.

24          112.   The OpenAI, Inc. Board’s technical expertise in AI, neutrality, and commitment to

25 OpenAI, Inc.’s nonprofit mission are particularly essential to OpenAI, Inc.’s mission as it is the

26 Board that determines whether OpenAI has attained AGI for purposes of its license agreement with

27 Microsoft. This means that the Board is tasked with determining whether OpenAI’s most powerful

28 and advanced technology is actually excluded from the scope of Microsoft’s exclusive license.

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 1 Given Microsoft’s enormous financial interest in keeping the gate closed to the public, OpenAI,

 2 Inc.’s new captured, conflicted, and compliant Board will have every reason to delay ever making

 3 a finding that OpenAI has attained AGI. To the contrary, OpenAI’s attainment of AGI, like

 4 “Tomorrow” in Annie, will always be a day away, ensuring that Microsoft will be licensed to

 5 OpenAI’s latest technology and the public will be shut out, precisely the opposite of the Founding

 6 Agreement.

 7          113.    OpenAI’s conduct could have seismic implications for Silicon Valley and, if allowed

 8 to stand, could represent a paradigm shift for technology start-ups. It is important to reflect on what

 9 has transpired here: a non-profit startup has collected tens of millions of dollars in contributions for

10 the express purpose of developing AGI technology for public benefit, and shortly before achieving

11 the very milestone that the company was created to achieve, the company has become a closed, for-

12 profit partner of the world’s largest corporation, thereby personally enriching the Defendants. If this

13 business model were valid, it would radically redefine how venture capitalism is practiced in

14 California and beyond. Rather than start out as a for-profit entity from the outset, “smart” investors

15 would establish non-profits, use pre-tax donations to fund research and development, and then once

16 their technology had been developed and proven, would slide the resulting IP assets into a new for-

17 profit venture to enrich themselves and their profit-maximizing corporate partners. That is not

18 supposed to be how the law works in California or anywhere else in this country, and this should

19 not be the first Court to hold otherwise.

20          114.    To further understand why this is important, if OpenAI’s new business model is

21 valid, for every dollar that an investor “invests” by contributing to a non-profit, that investor gets

22 approximately 50 cents back from the state and federal governments in the form of reduced income

23 taxes, so the net cost to them of each $1 of investment is only 50 cents. However, with OpenAI’s

24 new business model, they get the same “for profit” upside as those who invest the conventional way

25 in for-profit corporations and thus do not get an immediate tax write off, financed by the government

26 and, ultimately, the public. From an investment perspective, competing against an entity employing

27 the new OpenAI business model would be like playing a game of basketball where the other team’s

28 baskets are worth twice as many points. If this Court validates OpenAI’s conduct here, any start-up

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 1 seeking to remain competitive in Silicon Valley would essentially be required to follow this OpenAI

 2 playbook, which would become standard operating procedure for start-ups to the detriment of

 3 legitimate non-profits, the government’s tax coffers, and ultimately the people of California and

 4 beyond. Notably, OpenAI’s for-profit arm was recently valued at nearly $80 billion.

 5          H.     November 2023 To Present: Altman’s OpenAI

 6          115.   The public is still in the dark regarding what exactly the Board’s “deliberative review

 7 process” revealed that resulted in the initial firing of Mr. Altman. However, one thing is clear to Mr.

 8 Musk and the public at large: OpenAI has abandoned its “irrevocable” non-profit mission in the

 9 pursuit of profit. Numerous leaders and intellectuals have publicly commented on the irony and

10 tragedy of OpenAI becoming “Closed, For-Profit AI.”

11          116.   For example, on November 29, 2023, MIT economists wrote an opinion in the L.A.

12 Times expressing concern with OpenAI’s new profit-driven directive. In their words, “[d]isruption

13 and uncontrolled growth have become religion for the tech industry, and Altman has been one of its

14 most dedicated high priests.” The economists emphasized the new Board is far more likely to allow

15 Mr. Altman to scale up OpenAI as quickly as possible, no matter the severity of societal costs.

16          117.   The president of Public Citizen, a non-profit consumer advocacy organization, wrote

17 an open letter to California Attorney General Rob Bonta earlier this year raising concerns about

18 whether OpenAI’s for-profit subsidiary is exerting inappropriate control over the non-profit, or

19 whether the non-profit’s purpose had shifted to profit-making under Mr. Altman and Microsoft. The

20 letter suggested that should the non-profit abandon its original mission, it should be dissolved with

21 proceeds going to another charitable enterprise.

22          118.   A WIRED investigation from January 2024 found that OpenAI has also recently

23 shuttered the public’s access to previously available “key documents.” In line with OpenAI’s

24 original promise of transparency, OpenAI’s IRS documents have indicated since its founding that

25 any member of the public may view copies of its governing documents, financial statements, and

26 conflict of interest rules. However, when WIRED requested these documents, OpenAI indicated it

27 had changed its policy. Thus, while OpenAI has long touted its commitment to transparency,

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 1 members of the public are unable to obtain information shedding light on the incidents of November

 2 2023.

 3          119.   Access to OpenAI’s documents could inform the public whether it has changed its

 4 governance to appease Microsoft and other shareholders. At the very least, changes had to be made

 5 to accommodate Microsoft’s seat on the Board, and now Mr. Altman is reportedly in discussions

 6 with Middle Eastern investors to raise up to $7 trillion in an effort develop a global network of AI

 7 chip fabrication plants. If $10 billion from Microsoft was enough to get it a seat on the Board, one

 8 can only imagine how much influence over OpenAI, Inc. these new potential investments could

 9 confer on the investors. This is especially troubling when one potential donor is the national security

10 advisor of the United Arab Emirates, and United States officials are concerned due to the United

11 Arab Emirates’ ties to China. Moreover, Mr. Altman has been quoted discussing the possibility of

12 making the United Arab Emirates a “regulatory sandbox” where AI technologies are tested.

13          120.   Further, access to OpenAI’s conflict-of-interest policy is important to shed light on

14 the Board’s ability to control Mr. Altman’s use of OpenAI to advance his own economic interests,

15 which so far appear to have gone unchecked. For example, in 2019 when Mr. Altman was CEO,

16 OpenAI signed a letter of intent to buy $51 million worth of chips from a start-up in which Mr.

17 Altman was heavily invested.

18          121.   While OpenAI, Inc. was once a pioneer of safe, responsible development of AGI

19 based on open communication with the public, it has now shut its doors, brought the biggest investor

20 of its for-profit subsidiary onto a Board which owes its only fiduciary duty to humanity, and

21 continues in secrecy towards a profit-centric future with possible calamitous implications for

22 humanity.

23          122.   Mr. Musk founded and funded OpenAI, Inc. with Mr. Altman and Mr. Brockman in

24 exchange for and relying on the Founding Agreement to ensure that AGI would benefit humanity,

25 not for-profit corporations. As events turned out in 2023, his contributions to OpenAI, Inc. have

26 been twisted to benefit the Defendants and the biggest company in the world. This was a stark

27 betrayal of the Founding Agreement, turning that Agreement on its head and perverting OpenAI,

28 Inc.’s mission. Imagine donating to a non-profit whose asserted mission is to protect the Amazon

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 1 rainforest, but then the non-profit creates a for-profit Amazonian logging company that uses the

 2 fruits of the donations to clear the rainforest. That is the story of OpenAI, Inc.

 3                                     FIRST CAUSE OF ACTION

 4                                           Breach of Contract

 5                                         Against All Defendants

 6          123.   Plaintiff realleges and incorporates by reference only paragraphs of this Complaint

 7 necessary for his claim of Breach of Contract.

 8          124.   From OpenAI, Inc.’s founding in 2015 through September 2020, Plaintiff

 9 contributed tens of millions of dollars, provided integral advice on research directions, and played

10 a key role in recruiting world-class talent to OpenAI, Inc. in exchange and as consideration for the

11 Founding Agreement, namely, that: OpenAI, Inc. (a) would be a non-profit developing AGI for the

12 benefit of humanity, not for a for-profit company seeking to maximize shareholder profits; and

13 (b) would be open-source, balancing only countervailing safety considerations, and would not keep

14 its technology closed and secret for proprietary commercial reasons. This Founding Agreement is

15 memorialized in, among other places, OpenAI, Inc.’s founding Articles of Incorporation and in

16 numerous written communications between Plaintiff and Defendants over a multi-year period,

17 such as:

18              a. “The specific purpose of this corporation is to provide funding for research,

19                 development and distribution of technology related to artificial intelligence. The

20                 resulting technology will benefit the public and the corporation will seek to open

21                 source technology for the public benefit when applicable. The corporation is not

22                 organized for the private gain of any person.” Ex. 1 at 1.

23              b. Mr. Altman stated: “The mission would be to create the first general AI and use it

24                 for individual empowerment—ie, the distributed version of the future that seems the

25                 safest. More generally, safety should be a first-class requirement. . . . The technology

26                 would be owned by the foundation and used ‘for the good of the world’[.]” Plaintiff

27                 replied: “Agree on all.” Ex. 2 at 1.

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 1          125.   Defendants have breached the Founding Agreement in multiple separate and

 2 independent ways, including at least by:

 3             a. Licensing GPT-4, which Microsoft’s own scientists have written can “reasonably

 4                 be viewed as an early (yet still incomplete) version of an artificial general

 5                 intelligence (AGI) system,” exclusively to Microsoft, despite agreeing that OpenAI

 6                 would develop AGI for the benefit of humanity, not for the private commercial gain

 7                 of a for-profit company seeking to maximize shareholder profits, much less the

 8                 largest corporation in the world.

 9             b. Failing to disclose to the public, among other things, details on GPT-4’s

10                 architecture, hardware, training method, and training computation, and further by

11                 erecting a “paywall” between the public and GPT-4, requiring per-token payment

12                 for usage, in order to advance Defendants and Microsoft’s own private commercial

13                 interests, despite agreeing that OpenAI’s technology would be open-source,

14                 balancing only countervailing safety considerations.

15             c. Permitting Microsoft, a publicly traded for-profit corporation, to occupy a seat on

16                 OpenAI, Inc.’s Board of Directors and exert undue influence and control over

17                 OpenAI’s non-profit activities including, for example, the determination of whether

18                 and to what extent to make OpenAI, Inc.’s technology freely available and open to

19                 the public and the determination of whether OpenAI has attained AGI.

20          126.   As a direct and proximate result of Defendants’ breaches, Plaintiff has suffered

21 damages in an amount that is presently unknown, but that substantially exceeds this Court’s

22 jurisdictional minimum of $35,000, and, if necessary, will be proven at trial.

23          127.   Plaintiff also seeks and is entitled to specific performance of Defendant’s contractual

24 obligations.

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 1                                   SECOND CAUSE OF ACTION

 2                                         Promissory Estoppel

 3                                         Against All Defendants

 4          128.    Plaintiff realleges and incorporates by reference only paragraphs of this Complaint

 5 necessary for his claim of Promissory Estoppel.

 6          129.    In order to induce Plaintiff to make millions of dollars in contributions to OpenAI,

 7 Inc. over a period of years, and to induce him to provide substantial time and other resources to get

 8 OpenAI, Inc. off the ground as alleged herein, Defendants repeatedly promised Plaintiff, including

 9 in writing, that OpenAI (a) would be a non-profit developing AGI for the benefit of humanity, not

10 for a for-profit company seeking to maximize shareholder profits; and (b) would be open-source,

11 balancing only countervailing safety considerations, and would not keep its technology closed and

12 secret for proprietary commercial reasons.

13          130.    In doing so, Defendants reasonably expected that Plaintiff would (as he did) rely on

14 their promises and provide funding, time and other resources to OpenAI, Inc.

15          131.    Plaintiff reasonably relied on Defendants’ false promises to his detriment, ultimately

16 providing tens of millions of dollars of funding to OpenAI, Inc., as well as his time and other

17 resources, on the condition that OpenAI would remain a non-profit irrevocably dedicated to creating

18 safe, open-source AGI for public benefit, only to then have OpenAI abandon its “irrevocable” non-

19 profit mission, stop providing basic information to the public, and instead exclusively dedicate and

20 license its AGI algorithms to the largest for-profit company in the world, precisely the opposite of

21 the promises Defendants made to Plaintiff.

22          132.    Injustice can only be avoided through the enforcement of Defendants’ repeated

23 promises. If specific enforcement is not awarded, then Defendants must at minimum make

24 restitution in an amount equal to Plaintiffs’ contributions that have been misappropriated and by the

25 amount that the intended third-party beneficiaries of the Founding Agreement have been damaged,

26 which is an amount presently unknown, and if necessary, will be proven at trial, but that substantially

27 exceeds this Court’s jurisdictional minimum of $35,000.

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 1                                   THIRD CAUSE OF ACTION

 2                                      Breach of Fiduciary Duty

 3                                       Against All Defendants

 4         133.    Plaintiff realleges and incorporates by reference only paragraphs of this Complaint

 5 necessary for his claim of Breach of Fiduciary Duty.

 6         134.    Under California law, Defendants owe fiduciary duties to Plaintiff, including a duty

 7 to use Plaintiff’s contributions for the purposes for which they were made. E.g., Cal. Bus. & Prof.

 8 Code § 17510.8. Defendants have repeatedly breached their fiduciary duties to Plaintiff, including

 9 by:

10             a. Using monies received from Plaintiff, and by using intellectual property and

11                 derivative works funded by those monies, for “for-profit” purposes that directly

12                 contravene both the letter and the express intent of the parties’ agreement, thereby

13                 breaching Defendants’ contractual promises to Plaintiff, and also breaching

14                 Defendants’ promises to the express intended third-party beneficiaries of the

15                 parties’ agreement, i.e., the public. For example, Defendants caused GPT-4, which

16                 Microsoft’s own scientists have written can “reasonably be viewed as an early (yet

17                 still incomplete) version of an artificial general intelligence (AGI) system,” to be

18                 exclusively licensed to Microsoft, in derogation of OpenAI, Inc.’s irrevocable non-

19                 profit mission to develop AGI for the benefit of humanity.

20             b. Failing to disclose to the public, among other things, details on GPT-4’s

21                 architecture, hardware, training method, and training computation, and further by

22                 erecting a “paywall” between the public and GPT-4, requiring per-token payment

23                 for usage, in order to advance Defendants and Microsoft’s own private commercial

24                 interests, despite agreeing that OpenAI’s technology would be open-source,

25                 balancing only countervailing safety considerations.

26             c. Permitting Microsoft, a publicly traded for-profit corporation, to occupy a seat on

27                 OpenAI, Inc.’s Board of Directors and exert undue influence and control over

28                 OpenAI, Inc.’s non-profit activities including, for example, the determination of

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 1                 whether and to what extent to make OpenAI’s technology freely available to the

 2                 public.

 3          135.   As a direct and proximate result of Defendants’ breaches of fiduciary duty, Plaintiff

 4 and the express intended third-party beneficiaries of the Founding Agreement have suffered

 5 damages in an amount that is presently unknown, but substantially exceeds this Court’s

 6 jurisdictional minimum of $35,000, and if necessary, will be proven at trial.

 7          136.   Plaintiff seeks and is entitled to specific performance of Defendant’s contractual

 8 obligations as a remedy for Defendants’ breaches of fiduciary duty.

 9                                  FOURTH CAUSE OF ACTION

10                 Unfair Business Practices - Cal. Bus. & Prof. Code §§ 17200 et seq.

11                                        Against All Defendants

12          137.   Plaintiff realleges and incorporates by reference only paragraphs of this Complaint

13 necessary for his claim of Unfair Business Practices.

14          138.   California Business and Professions Code sections 17200 et seq. provides that any

15 person or entity that engages, has engaged, or proposes to engage in unfair business practices may

16 be enjoined.

17          139.   Defendants have engaged in unfair competition and other unfair business practices

18 by soliciting donations from Plaintiff and others under the false pretense that all such funds would

19 be used for the Fundamental Purposes articulated in the Founding Agreement.

20          140.   But for Defendants’ unfair competition and other unfair business practices, Plaintiff

21 would not have made his donations or other contributions to OpenAI, Inc.

22          141.   As a result of Defendants’ conduct, Plaintiff has been deceived and other members

23 of the public are likely to be deceived.

24          142.   In engaging in the acts of unfair competition, as alleged above, Defendants violated

25 at least Cal. Bus. & Prof. Code § 17510.8.

26          143.   As a direct and proximate result of these and other acts of Defendants, Plaintiff has

27 suffered damages and is entitled to recover all proceeds and compensation received by Defendants

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 1 and by those acting in concert with them arising from these acts of unfair competition and other

 2 unfair business practices.

 3          144.    Plaintiff is entitled to restitution and/or disgorgement of any and all monies received

 4 by Defendants while they engaged in such practices, in addition to prejudgment interest pursuant to

 5 Business & Professions Code § 17200 et seq. Plaintiff further seeks to enjoin Defendants from

 6 carrying out such activities again in the future, and an order compelling specific performance.

 7                                      FIFTH CAUSE OF ACTION

 8                                                Accounting

 9                                          Against All Defendants

10          145.    Plaintiff realleges and incorporates by reference only paragraphs of this Complaint

11 necessary for his claim of Accounting.

12          146. As discussed above, over the course of multiple years, Defendants solicited tens of

13 millions of dollars in donations from Plaintiff with representations and assurances that OpenAI, Inc.

14 would remain a non-profit irrevocably dedicated to creating safe AGI for public benefit, and that all

15 donated funds would be used in accordance with that “irrevocable” mandate. On information and

16 belief, Defendants also solicited tens of millions of dollars in donations from others based on the

17 same representations.

18          147.    Contrary to the express purpose for which Plaintiff’s funds were contributed, as set

19 forth herein, Defendants used monies received from Plaintiff, and intellectual property and

20 derivative works funded by those monies, for “for-profit” purposes, including for the benefit of

21 private individuals and likely of the individual Defendants themselves, that directly contravene both

22 the letter and the express intent of the parties’ agreement.

23          148.    Because Defendants are in possession of financial information relating to the use of

24 the charitable contributions that Plaintiff and others made to OpenAI, Inc. and the intellectual

25 property and derivative works funded by those monies, Plaintiff is presently unable to ascertain his

26 interest in or the use, allocation, or distribution of assets without an accounting. Plaintiff is therefore

27 entitled to an accounting.

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 1                                     PRAYER FOR RELIEF

 2         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

 3            A. For an order compelling specific performance of Defendants’ repeated contractual

 4               promises including, without limitation,

 5                  i.   An order requiring that Defendants continue to follow OpenAI’s long-

 6                       standing practice of making AI research and technology developed at

 7                       OpenAI available to the public, and

 8                 ii.   An order prohibiting Defendants from utilizing OpenAI, Inc. or its assets

 9                       for the financial benefit of the individual Defendants, Microsoft, or any

10                       other particular person or entity;

11            B. For a judicial determination that GPT-4 constitutes Artificial General Intelligence

12               and is thereby outside the scope of OpenAI’s license to Microsoft;

13            C. For a judicial determination that Q* and/or other OpenAI next generation large

14               language models in development constitute(s) Artificial General Intelligence and

15               is/are outside the scope of OpenAI’s license to Microsoft;

16            D. Injunctive relief consistent with and to effectuate items A through C above;

17            E. For an award of restitution and/or disgorgement of any and all monies received by

18               Defendants while they engaged in the unfair and improper practices described

19               herein, in addition to prejudgment interest and penalties, pursuant to Business &

20               Professions Code § 17200 et seq.;

21            F. For an accounting of funds donated by Plaintiffs and others to OpenAI, Inc., and of

22               intellectual property or derivative works funded by same, and of Defendants’ use

23               of the same for personal benefit or the benefit of any individual or third-party entity;

24            G. For general, compensatory, and punitive damages to be proven at trial, each of

25               which Plaintiff will contribute to a non-profit or charity;

26            H. For attorneys’ fees pursuant to California Code of Civil Procedure § 1021.5;

27            I. For pre-judgment and post-judgment interest at the maximum legal rate; and

28            J. For such other and further relief as the Court may deem just and proper.

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 1                                    DEMAND FOR JURY TRIAL

 2         Plaintiff hereby demands trial by jury as to all issues, claims, and/or causes of action properly

 3 triable before a jury

 4

 5         DATED: February 29, 2024                  IRELL & MANELLA LLP

 6

 7                                                   By:

 8                                                         Morgan Chu
                                                           Alan Heinrich
 9                                                         Iian Jablon
                                                           Abigail Sellers
10
                                                           Justin Koo
11                                                         Henry White

12                                                         Attorneys for Plaintiff Elon Musk
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                    Exhibit 1
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             State of Delaware
             Secretary of State
         Division of Corporations
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        FILED 02:22 PM 12/08/2015
   SR 20151247198 - FileNumber 5902936
                                                   A NON-STOCK CORPORATION

                                                            OPENAI, INC.

                  FIRST: The name of the Corporation is "OpenAI, Inc." (the "Corporation").

                  SECOND: The address of the Corporation's registered office in the State of Delaware is 2711
                  CenterviJle Road, Suite 400, Wilmington, New Castle County, Delaware 19808. The name of its
                  registered agent at such address is Corporation Service Company.

                 THIRD: This Corporation shall be a nonprofit corporation organized exclusively for charitable
                 and/or educational purposes within the meaning of section 501(c){3) of the Internal Revenue
                 Code of 1986, as amended, or the corresponding provision of any future United States Internal
                 Revenue law. The specific purpose of this corporation is to provide funding for research,
                 development and distribution of technology related to artificial intelligence. The resulting
                 technology will benefit the public and the corporation will seek to open source technology for
                 the public benefit when applicable. The corporation is not organized for the private gain of any
                 person. In furtherance of its purposes, the corporation shall engage in any lawful act of activity
                 for which nonprofit corporations may be organized under the General Coiporation Law of
                 Delaware.

                 FOURTH: This corporation is organized and operated exclusively for purposes set forth in
                 Article THIRD hereof within the meaning of the Internal Revenue Code section 501(c)(3). No
                 substantial part of the activities of this corporation shall consist of carrying on propaganda, or
                 otherwise attempting to influence legislation and this corporation shall not participate or
                 intervene in any political campaign (including the publishing or distribution of statements) on
                 behalf on any candidate for public office. Notwithstanding any other provision of these articles,
                 the corporation shall not carry on any other activities not pennitted to be carried on (a) by a
                 corporation/organization exempt from Federal income tax under section 501(c){3) of the Internal
                 Revenue Code, or the corresponding section of any future federal tax code, or (b) by a
                 corporation/organization, contributions to which are deductible under section 170(c)(2) of the
                 Internal Revenue Code, or the corresponding section of any future federal tax code.

                  FIFTH: The property of this corporation is irrevocably dedicated to the purposes in Article
                  THREE hereof and no part of the net income or assets of this corporation shall ever inure to the
                  benefit of any director, officer or member thereof or to the benefit of any private person. Upon
                  the dissolution or winding up of this corporation, its assets remaining after payment, or provision
                  for payment, of all debts and liabilities of this corporation shall be distributed to a nonprofit fund,
                  foundation, or corporation which is organized and operated exclusively for charitable,
                  educational and/or religious purposes and which has established its tax exempt status under
                  Internal Revenue Code section 50l(c)(3), or the corresponding section of any future federal tax
                  code, or shall be distributed to the federal government, or to a state or local government, for a
                  public purpose.

                  SIXTH: The corporation shall not have any capital stock.
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                SEVENTH: The corporation shall not have any members.

                EIGHTH: The name and mailing address of the incorporator are as follows:

                                                        Jonathan Levy
                                                       335 Pioneer Way
                                                    Mountain View, CA 94041


                I, Jonathan Levy, for the purpose of forming a corporation under the laws of the State of
                Delaware, do make, file and record this Certificate, and do certify that the facts herein stated are
                true, and I have accordingly hereunto set my hand this

                Executed on December 8, 2015.

                AUTHORIZED OFFICER


                ls/Jonathan Levy
                Jonathan Levy
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                    Exhibit 2
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                    Exhibit 3
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   97ÿ%&;9O5@ÿ9<Oÿ"G"<5@ÿO:78&:%68"Oÿ97ÿI;77:%5"NÿRM"ÿ;68#;$"ÿ;Lÿ8M:7ÿG"<86&"ÿ:7ÿ6<#"&89:<ÿ9<O
   8M"ÿP;&Eÿ:7ÿO:LL:#658)ÿ%68ÿP"ÿ%"5:"G"ÿ8M"ÿB;95ÿ9<Oÿ8M"ÿ78&6#86&"ÿ9&"ÿ&:BM8NÿA"ÿM;I"ÿ8M:7ÿ:7
   PM98ÿ$988"&7ÿ$;78ÿ8;ÿ8M"ÿ%"78ÿ:<ÿ8M"ÿL:"5ON


   STUVW21.XY
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    !"#$%$&$'(ÿ$*#+(($,+*&+ÿ-'.ÿ'(/'0.ÿ1++*ÿ'ÿ.2"3"$.$*,ÿ%$+(45ÿ6*ÿ#-+ÿ+'"(0ÿ4'0.7ÿ3+83(+ÿ#-82,-#
    #-'#ÿ.8(9$*,ÿ&+"#'$*ÿ#'.:.ÿ;.2&-ÿ'.ÿ&-+..<ÿ/82(4ÿ(+'4ÿ2.ÿ#8ÿ4$.&89+"ÿ-2='*>(+9+(
    $*#+(($,+*&+ÿ'(,8"$#-=.5ÿ?8/+9+"7ÿ#-+ÿ.8(2#$8*ÿ#8ÿ+'&-ÿ#'.:ÿ#2"*+4ÿ82#ÿ#8ÿ1+ÿ=2&-ÿ(+..
    ,+*+"'(ÿ#-'*ÿ3+83(+ÿ/+"+ÿ-83$*,ÿ;.2&-ÿ'.ÿ48$*,ÿ'ÿ.+'"&-ÿ89+"ÿ'ÿ-2,+ÿ*2=1+"ÿ8%ÿ=89+.<5
    A-+ÿ3'.#ÿ%+/ÿ0+'".ÿ-'9+ÿ-+(4ÿ'*8#-+"ÿ%('98"ÿ8%ÿ.2"3"$.+5ÿ!*ÿ!6ÿ#+&-*$B2+ÿ+C3(8"+4ÿ%8"
    4+&'4+.7ÿ4++3ÿ(+'"*$*,7ÿ.#'"#+4ÿ'&-$+9$*,ÿ.#'#+>8%>#-+>'"#ÿ"+.2(#.ÿ$*ÿ'ÿ/$4+ÿ9'"$+#0ÿ8%
    3"81(+=ÿ48='$*.5ÿ6*ÿ4++3ÿ(+'"*$*,7ÿ"'#-+"ÿ#-'*ÿ-'*4>&84+ÿ'ÿ*+/ÿ'(,8"$#-=ÿ%8"ÿ+'&-
    3"81(+=7ÿ082ÿ4+.$,*ÿ'"&-$#+&#2"+.ÿ#-'#ÿ&'*ÿ#/$.#ÿ#-+=.+(9+.ÿ$*#8ÿ'ÿ/$4+ÿ"'*,+ÿ8%
    '(,8"$#-=.ÿ1'.+4ÿ8*ÿ#-+ÿ4'#'ÿ082ÿ%++4ÿ#-+=5
    A-$.ÿ'33"8'&-ÿ-'.ÿ0$+(4+4ÿ82#.#'*4$*,ÿ"+.2(#.ÿ8*ÿ3'##+"*ÿ"+&8,*$#$8*ÿ3"81(+=.7ÿ.2&-ÿ'.
    "+&8,*$D$*,ÿ81E+&#.ÿ$*ÿ$=',+.7ÿ='&-$*+ÿ#"'*.('#$8*7ÿ'*4ÿ.3++&-ÿ"+&8,*$#$8*5ÿF2#ÿ/+G9+ÿ'(.8
    .#'"#+4ÿ#8ÿ.++ÿ/-'#ÿ$#ÿ=$,-#ÿ1+ÿ($:+ÿ%8"ÿ&8=32#+".ÿ#8ÿ1+ÿ&"+'#$9+7ÿ#8ÿ4"+'=7ÿ'*4
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    '/'0ÿ'#ÿ#-+$"ÿ&8*.#"'$*#.7ÿ'*4ÿ$*ÿ#-+ÿ+C#"+=+ÿ&'.+ÿ#-+0ÿ/$((ÿ"+'&-ÿ-2='*ÿ3+"%8"='*&+ÿ8*
    9$"#2'((0ÿ+9+"0ÿ$*#+((+&#2'(ÿ#'.:5ÿ6#G.ÿ-'"4ÿ#8ÿ%'#-8=ÿ-8/ÿ=2&-ÿ-2='*>(+9+(ÿ!6ÿ&82(4ÿ1+*+%$#
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    B9@<CA9ÿDEÿFGHAÿAC>I>8A8JKÿL8A?D>MNÿ8?HAÿL<>Oÿ?DÿI>9O8@?ÿ:L9JÿLCP<JQ=9R9=ÿFGÿP8KL?ÿ@DP9
    :8?L8Jÿ>9<@LSÿTL9Jÿ8?ÿOD9ANÿ8?H==ÿU9ÿ8PID>?<J?ÿ?DÿL<R9ÿ<ÿ=9<O8JKÿ>9A9<>@Lÿ8JA?8?C?8DJÿ:L8@L
    @<JÿI>8D>8?8V9ÿ<ÿKDDOÿDC?@DP9ÿED>ÿ<==ÿDR9>ÿ8?AÿD:JÿA9=EQ8J?9>9A?S
    T9H>9ÿLDI8JKÿ?DÿK>D:ÿXI9JFGÿ8J?DÿAC@Lÿ<Jÿ8JA?8?C?8DJSÿFAÿ<ÿJDJQI>DE8?NÿDC>ÿ<8Pÿ8Aÿ?DÿUC8=O
    R<=C9ÿED>ÿ9R9>MDJ9ÿ><?L9>ÿ?L<JÿAL<>9LD=O9>ASÿY9A9<>@L9>Aÿ:8==ÿU9ÿA?>DJK=Mÿ9J@DC><K9Oÿ?D
    ICU=8ALÿ?L98>ÿ:D>ZNÿ:L9?L9>ÿ<AÿI<I9>ANÿU=DKÿIDA?ANÿD>ÿ@DO9Nÿ<JOÿDC>ÿI<?9J?Aÿ[8Eÿ<JM\ÿ:8==ÿU9
    AL<>9Oÿ:8?Lÿ?L9ÿ:D>=OSÿT9H==ÿE>99=Mÿ@D==<UD><?9ÿ:8?LÿD?L9>Aÿ<@>DAAÿP<JMÿ8JA?8?C?8DJAÿ<JO
    9]I9@?ÿ?Dÿ:D>Zÿ:8?Lÿ@DPI<J89Aÿ?Dÿ>9A9<>@Lÿ<JOÿO9I=DMÿJ9:ÿ?9@LJD=DK89AS
    XI9JFGHAÿ>9A9<>@LÿO8>9@?D>ÿ8AÿG=M<ÿ̀C?AZ9R9>NÿDJ9ÿDEÿ?L9ÿ:D>=Oÿ9]I9>?Aÿ8JÿP<@L8J9ÿ=9<>J8JKS
    XC>ÿ^_Xÿ8Aÿh>9KÿB>D@ZP<JNÿED>P9>=Mÿ?L9ÿ^_XÿDEÿ̀?>8I9Sÿ_L9ÿK>DCIHAÿD?L9>ÿEDCJO8JK
    P9PU9>Aÿ<>9ÿ:D>=OQ@=<AAÿ>9A9<>@Lÿ9JK8J99>Aÿ<JOÿA@89J?8A?Aaÿ_>9RD>ÿB=<@Z:9==78    Nÿ @Z8
    ^L9CJKFJNÿ O>9mÿd<>I<?LMnCNÿ >Zÿd8JKP<j    NÿDLJÿ̀@LC=P<Jb<Nÿ P9=<ÿ7<K<?<Nÿ<JOÿTDm@89@L
    o<>9PU<Sÿb89?9>ÿFUU99=NÿcDALC<ÿB9JK8DNÿF=<Jÿd<MNÿ̀9>K9Mÿe9R8J9Nÿ<JOÿ78AL<=ÿ̀8ZZ<ÿ<>9
    <OR8AD>Aÿ?Dÿ?L9ÿK>DCISÿXI9JFGHAÿ@DQ@L<8>Aÿ<>9ÿ̀<PÿF=?P<Jÿ<JOÿf=DJÿgCAZS
    `<PNÿh>9KNÿf=DJNÿY98OÿiDEEP<JNÿj9AA8@<ÿe8R8JKA?DJNÿb9?9>ÿ_L89=NÿFP<VDJÿT9Uÿ̀9>R8@9A
    [FT`\NÿGJEDAMANÿ<JOÿc^ÿY9A9<>@Lÿ<>9ÿODJ<?8JKÿ?DÿACIID>?ÿXI9JFGSÿGJÿ?D?<=Nÿ?L9A9ÿECJO9>A
    L<R9ÿ@DPP8??9OÿklÿU8==8DJNÿ<=?LDCKLÿ:9ÿ9]I9@?ÿ?DÿDJ=MÿAI9JOÿ<ÿ?8JMÿE><@?8DJÿDEÿ?L8Aÿ8Jÿ?L9
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